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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                       Criminal No. 14-00289 (4) (SRN/JSM)

UNITED STATES OF AMERICA,                  )
                                           )
                    Plaintiff,             )         ORDER
                                           )
             v.                            )
                                           )
ELEUTERIO IZAZAGA-PASCACIO,                )
                                           )
                    Defendant.             )



Allen A. Slaughter, United States Attorney’s Office, 316 North Roberts St., Ste. 404, St.
Paul, MN 55101, for the United States of America.

Daniel L. Gerdts, 247 Third Ave. S., Minneapolis, MN 55415, for Defendant Eleuterio
Izazaga-Pascacio.


SUSAN RICHARD NELSON, United States District Judge

      This matter is before the Court upon the Report and Recommendation of United

States Magistrate Judge Janie S. Mayeron dated February 12, 2016 [Doc. No. 368]. No

objections to the Report and Recommendation were filed in the period permitted. Based

upon the Report and Recommendation and upon all of the files, records, and proceedings

herein, the Court now makes and enters the following order:

      IT IS HEREBY ORDERED THAT

      1. The Report and Recommendation [Doc. No. 368] is ADOPTED.

      2. Defendant Eleuterio Izazaga-Pascacio’s Pro Se Mot. to Vacate and Dismiss
         Superseding Indictments for Violating Speedy Trial Act [Doc. No. 343] is
         DENIED.
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      3. Defendant Eleuterio Izazaga-Pascacio’s Pro Se Mot. to Challenge Grand Jury
         Indictment Under Rule 6 and Mot. for Bill of Particulars Under Rule 7 [Doc.
         No. 344] is DENIED.


Dated: March 21, 2016                 s/ Susan Richard Nelson
                                      SUSAN RICHARD NELSON
                                      United States District Judge




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